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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI-DADE DIVISION
 In re:

 QUINTIN LARIOS                                        Case Number 15-15051-RAM
 MARIA LARIOS                                          Chapter 7

       Debtors,
 _____________________________________/

 LEAN CRESPO,

          Plaintiff,

 v.

 QUINTIN LARIOS and                                    Adv. Proc. No. 16-01014-RAM
 MARIA LARIOS

       Defendants.
 _____________________________________/

                       DEFENDANTS’ WITNESS AND EXHIBIT LIST

          Defendants, QUINTIN LARIOS and MARIA LARIOS, pursuant to Rule 26(a) of the

Federal Rules of Civil Procedure hereby make the following disclosures:

      A. 26(a)(2) – Expert Testimony

                 Defendants will not call any expert for testimony. Defendants reserve the right
                 to amend or supplement this disclosure.

      B. 26(a)(3)(A)(i) and (ii)– Witness List

             a. Maria Teresa Larios, 130 NW 56th Court, Miami, FL 33126 – (786) 299-1509

             b. Quintin Larios, 130 NW 56th Court, Miami, FL 33126 – (786) 299-1507

             c. Carmen Larios, 13302 SW 57 Court, Miami, FL 33156 - (305) 297-8795

             d. Jorge Larios, 107 Mendoza Avenue, Apt. 206, Coral Gables, FL 33134
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Page 2 of 2.                                                              In re Larios, Quintin and Maria
                                                                          Main Case No. 15-15051-RAM
                                                                          Adv. Proc. No. 16-01014-RAM

               e. Defendants reserve the right to amend or supplement this disclosure.

    C. 26(a)(3)(A)(iii) – Exhibit List

               a. Exhibit A - Debtor’s Bankruptcy Petition

               b. Defendants reserve the right to amend or supplement this disclosure.


                                   CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and correct copy of the foregoing was sent, via
CM/ECF this 9th day of March 2017 to: Ricardo Corona, Esq., Counsel for Plaintiff,
bk@coronapa.com.


                                                    KINGCADE & GARCIA, P.A
         CERTIFICATE PURSUANT TO                    Counsel for the Debtor
           LOCAL RULE 9011-4(B)                     Kingcade Building
                                                    1370 Coral Way
                                                    Miami, Florida 33145-2960
            I HEREBY CERTIFY that I                 WWW.MIAMIBANKRUPTCY.INFO
        am admitted to the Bar of the United        Telephone: 305-285-9100 ▪ Facsimile: 305-285-9542
        States District Court for the               /s/ Timothy S. Kingcade
        Southern District of Florida and I          X Timothy S. Kingcade, Esq., FBN 082309
        am in compliance with the additional        □ Wendy Garcia, Esq., FBN 0865478
        qualifications to practice in this          □ Jessica L. McMaken, Esq., FBN 580163
        Court set forth in Local Rule 2090-
        1(A).
